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              EXHIBIT A
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                ELECTRONIC ACKNOWLEDGEMENT RECEIPT

APPLICATION #         RECEIPT DATE / TIME                                        ATTORNEY DOCKET #
90/019,778            12/13/2024 05:36:23 PM Z ET                                -

Title of Invention
INTRAOSSEOUS INTRAMEDULLARY FIXATION ASSEMBLY AND METHOD OF USE

Application Information

   APPLICATION TYPE   Utility / ex parte reexam                      PATENT #        11298166

     CONFIRMATION #   5684                                            FILED BY       Jennifer Brinkerhoff

    PATENT CENTER #   68362041                                     FILING DATE       -

        CUSTOMER #    27776                                       FIRST NAMED        Jeff Tyber
                                                                     INVENTOR

  CORRESPONDENCE      -                                         AUTHORIZED BY        -
         ADDRESS


Documents                                                          TOTAL DOCUMENTS: 8

                                                                                                      SIZE
DOCUMENT                                          PAGES    DESCRIPTION
                                                                                                      (KB)

                                                           Other reference-
IPR2023-00894 paper 64
                                                  68       Patent/Application/Search                    2209 KB
Final Written Decision.pdf
                                                           Documents

                                                           Copy of patent for which
11298166B2.pdf                                    32                                                    3345 KB
                                                           reexamination is requested

                                                           Other reference-
20110087227A1.pdf                                 69       Patent/Application/Search                    5661 KB
                                                           Documents

                                                           Other reference-
61138920.pdf                                      98       Patent/Application/Search                    8539 KB
                                                           Documents

Fusion sb0081c POA.pdf                            2        Power of Attorney                                136 KB

Fusion-reexam-request-                                     Receipt of Original Ex Parte
                                                  15                                                    2243 KB
166.pdf                                                    Reexam fewer than 40 Pages
             Case 2:22-cv-00723-GMS                 Document 116-1           Filed 12/16/24         Page 3 of 19        Page 2 of 3
                                                                         Rule 1.20(C)(1)

Fusion sb0057.pdf                                        4               Transmittal of New Application                   325 KB

                                                                         Reexam - Info Disclosure
Fusion-IDS.pdf                                           4                                                                  98 KB
                                                                         Statement Filed by 3rd Party


Digest


DOCUMENT                                     MESSAGE DIGEST(SHA-512)

                                             6DEA61553094889AB82F1204A6A848F98197C35CF06C623374
IPR2023-00894 paper 64 Final
                                             25093C562F93886F54B4D94630BD672A168B3F5BBBC2554C2
Written Decision.pdf
                                             81221B877F941CB5F8CD8BFDC1DA3

                                             43AD5EF28CC46846A9E94114305E00D5C48CF0397732471517
11298166B2.pdf                               F1239D82FC508ADDF4959E45393957640BC01FE303EEDA30D
                                             0BD7A99B42C07655E4A5931AD27C8

                                             025988293BE88065618220464D4A0FBD0CACDAED701A6197F
20110087227A1.pdf                            DF0499B24B518F690E3360A602BFDCD03C9E266CDFBC12CD
                                             2E2AABB195E44D63867F2B5560DF694

                                             FA5540F3C70C58E43625DAD353C960671E265D0554595E5BD
61138920.pdf                                 E8BAFD067D7B1C10A2F5B56AC62554CDD4305F21BD33D427
                                             23E8431AB99D2FE38B25F5E27948C1B

                                             F13972ECE3658EF09A6E7DAC7CA9118099269328A76FD30C4
Fusion sb0081c POA.pdf                       AE74AD6B73DAC5175132A23CDD47C31F310462A0C9CE8BD1
                                             48F245D78082A0A5D5C1E3BB1E8FAE5

                                             C983C9A2E4B617809E2BFFD63DF8955771C1CE158F96553B7
Fusion-reexam-request-166.pdf                3321AD66E2DF917834BFAD8645597B244015A8A82DF9D6B7E
                                             1E33C65FB0E6E370CEEFA7710305CE

                                             788B2863B3B2180079833563BAEAB219D43B78654047EED250
Fusion sb0057.pdf                            EADAF826381ACDC05AD61EF7C05D9DE55D6377FE60662B8F
                                             7519468F5C2C8807453DF46FDB5237

                                             3E43706E2E8029ECC12F2629A0B0C9F67EC991F1E08D5229A
Fusion-IDS.pdf                               4E3E351E96A23D63C863C3D2214A1D9D34B11735D24F0467B
                                             8B76413F8CB641821B39B79EAD9DF0


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 by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a Post Card, as
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 New Applications Under 35 U.S.C. 111
 If a new application is being filed and the application includes the necessary components for filing date (see 37 CFR 1.53(b)-(d)
 and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this Acknowledgement
 Receipt will establish the filing date of the application
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National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35 U.S.C.
371 and other applicable requirements a Form PCT/DO/EO/903 indicating acceptance of the application as a national stage
submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for an
international filing date (see PCT Article 11 and MPEP 1810), a Notification of the International Application Number and of the
International Filing Date (Form PCT/RO/105) will be issued in due course, subject to prescriptions concerning national security,
and the date shown on this Acknowledgement Receipt will establish the international filing date of the application.
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U.S. Patent No. 11,298,166                              Request for Ex Parte Reexamination


         IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

 Fusion Orthopedics, LLC, Requester,             U.S. Patent No.: 11,298,166
                                                 Issued: 12 April 2022
                       v.
 Extremity Medical, LLC, Patent Owner.           Title: Intraosseous Intramedullary
                                                 Fixation Assembly and Method of Use

                   REQUEST FOR EX PARTE REEXAMINATION

       Third Party Requester Fusion Orthopedics, LLC (“Requester”) asks the Office to
order reexamination of claims 1–15 of U.S. Patent No. 11,298,166, which issued April 12,
2022 to inventors Jeff Tyber et al. (“ ’166 patent). The ’166 patent lists on its face assignee
Extremity Medical, LLC (“Patent Owner”), though no assignment appears to have been re-
corded against the ’166 patent. The ’166 patent’s statutory period of enforceability has not
yet expired. Substantial new questions of patentability exist and are presented below. Inter
partes review of the ’166 patent (IPR2023-00894) recently concluded with a final written
decision (“FWD,” copy placed in the image file wrapper of the ’166 patent on Nov. 4, 2024)
in which the Patent Trial and Appeal Board (“PTAB”) held all claims except claim 11
unpatentable. FWD 67. The ’166 patent is also the subject of Extremity Medical, LLC. v.
Fusion Orthopedics, LLC, 2:22-cv-00723-PHX-GMS (D. Ariz.), which is currently stayed.
       Requester certifies that the statutory estoppel provisions of 35 U.S.C. §§ 315(e)(1)
and 325(e)(1) do not prevent Requester from filing this Request. In particular, the new
reference cited (US 2011/0087227 A1 to Mazur) did not come to Requester’s attention
until Patent Owner attempted to amend the claims of the ’166 patent during the IPR. The
reference was discovered in an updated search commissioned during the IPR that was
specifically focused on the new limitation Patent Owner added to the claims in its Revised
Motion to Amend. Patent Owner’s amendment was unsuccessful, because the PTAB
found the proposed claims anticipated by Mazur. FWD 63.
       Mazur anticipates the patented claims for exactly the same reasons the PTAB found
that it anticipates the proposed amended claims. Because the patented claims are not
patentably distinct from the proposed claims the PTAB finally refused, Patent Owner is
barred from defending the patented claims. 37 C.F.R. § 42.73(d)(3)(i).




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U.S. Patent No. 11,298,166                              Request for Ex Parte Reexamination


I.     Background and Summary of the ’166 patent
       The ’166 patent issued from application serial no. 17/323,923, which was filed May
18, 2021 and claims an earliest effective filing date of its claimed subject matter through a
series of continuations and a division to application serial no. 12/658,680, filed Feb. 11,
2010, now U.S. Patent No. 9,044,282. The ’166 patent also claims the benefit of earlier
applications which lack disclosure of the claimed subject matter. The ’166 patent concerns
orthopedic implant devices, such as intramedullary nails, that
are used to repair or reconstruct hand and foot bones. (col. 1,
ll. 28–33). The claims are directed to bone fusion assemblies,
which (as shown in Figure 18) include third member 1815
spanned by identical first (1805) and second (1810) members,
both of which have a self-tapping edge for removing bone
material. FWD 5–7.
II.    The Prior Art
       US 2011/0087227 A1 to Mazur, filed Dec. 18, 2009 and claiming the benefit of
provisional application serial no. 61/138,920 filed Dec. 18, 2008 (“Mazur”).
III.   The prior art reference raises substantial new questions of patentability
       As discussed in M.P.E.P. § 2242, a substantial new question of patentability is
present if (A) the teaching of the prior art patents and printed publications is such that a
reasonable examiner would consider the teaching to be important in deciding whether or
not the claim is patentable; and (B) the same question of patentability has not been decided
in a previous or pending Office proceeding or in a final holding of invalidity by a federal
court. The prior art reference cited in this Request raises substantial new questions of
patentability because it meets both of these conditions.
       As to condition (A), Mazur would be considered important to the Examiner
because, as described in detail below, it both anticipates and renders obvious the subject
matter of each patented claim. As to condition (B), Mazur was considered during
IPR2023-00894 only as to Patent Owner’s proposed amended claims, not as to the patented
claims (FWD 48). This Request therefore presents substantial new questions of
patentability that are not the same or substantially the same prior art or arguments
previously presented to the Office. See 35 U.S.C. § 325(d).



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       The Final Written Decision in IPR2023-00894 is filed with this Request for the
Examiner’s convenience. It is not being relied on for any argument of unpatentability. It
is cited merely as a record of prior action taken by the Office that is binding on Patent
Owner and on all further proceedings concerning the ’166 patent. All arguments relied
upon in this Request are contained within the four corners of the Request itself and not in
the Final Written Decision. Therefore, the Request satisfies the streamlined page limit.
The Director is authorized to charge any fee deficiency to the deposit account listed on the
transmittal if the Request is deemed non-compliant with the streamlined requirements.
IV.    Detailed Explanation of Substantial New Questions of Patentability
       A.      Mazur anticipates claims 1–15

               1.      Patent Owner is estopped from defending patentability over Mazur.
       During IPR2023-00894, Patent Owner submitted proposed substitute claims 16–30
which corresponded to patented claims 1–15, respectively, and narrowed the patented
claims by adding a limitation concerning the geometry of the recited first aperture. FWD
50. The proposed substitute claims only narrowed the patented claims and did not enlarge
them in any way. FWD 47. The patented claims therefore are generic to their proposed
substitute counterparts and, consequently, not patentably distinct from them.
       The PTAB found that Mazur anticipated each of proposed substitute claims 16–25
and 27–30 and therefore denied Patent Owner’s Revised Motion to Amend Claims. FWD
49, 63, 66–67. The PTAB did not reach claim 26 because its corresponding patented claim
11 was not found unpatentable. FWD 66.
       The PTAB’s decision to deny Patent Owner’s Revised Motion to Amend Claims
constitutes a final refusal of proposed substitute claims 16–25 and 27–30, because the
PTAB rendered its refusal in its Final Written Decision in IPR2023-00894 and after Patent
Owner fully participated in briefing, expert discovery, and oral argument. FWD 1–3
(describing procedural history of IPR2023-00894). Patent Owner therefore is estopped
from taking any position inconsistent with the PTAB’s determination that proposed
substitute claims 16–25 and 27–30 are anticipated by Mazur. 37 C.F.R. § 42.73(d)(3)(i)
(“A patent applicant or owner is precluded from taking action inconsistent with the adverse
judgment, including obtaining in any patent: (i) A claim that is not patentably distinct from
a finally refused or canceled claim”).


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       This means that Patent Owner cannot defend the patentability of claims 1–10 and
12–15 over Mazur, because these claims are generic to claims that the PTAB finally
refused. A claim that is generic to a claim found unpatentable over prior art is itself
unpatentable over that same art.
       Patent Owner also is precluded from defending the patentability of claim 11
because it is patentably indistinct from claim 10, which the PTAB found unpatentable in
the Final Written Decision for IPR2023-00894. FWD 65, 67. Claim 11 is not patentably
distinct from claim 10 because it merely duplicates structure (the “self-tapping edge for
removing bone material”) already recited in claim 10. In re Harza, 274 F.2d 669, 671
(CCPA 1960) (“It is well settled that the mere duplication of parts has no patentable
significance unless a new and unexpected result is produced”); M.P.E.P. § 2144.04(VI)(B).
In this case, the only difference between claim 11 and unpatentable claim 10 is the
duplication of the “self-tapping edge for removing bone material,” which has “no
patentable significance” as explained in Harza. Patent Owner admitted that screws 1805
and 1810 are duplicates of one another (’166 patent, 13:26–31) and has made no argument
about a “new and unexpected result” from duplicating this structure. Patent Owner
therefore is estopped from defending the patentability of claim 11.
               2.      Substantial New Question of Patentability
       Mazur US 2011/0087227 A1 was filed Dec. 18, 2009 and claims the benefit of
provisional application Ser. No. 61/138,920 filed Dec. 18, 2008 containing near-identical
specification and drawings. Mazur is effective prior art as of its provisional date because
claim 1 of Mazur is fully supported by its provisional application, as shown below.
       Mazur discloses a bone fixation device having a hub 550 with a series of holes
through which screws e.g. 556 pass to anchor the hub in bone. Figure 16A shows the hub
and one screw that passes in through the end of the hub and out through hole 554, while
another screw may pass through the more distal set of holes:




                                      Mazur, Fig. 16A

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       Although Figure 16A shows a curved hub, Mazur discloses that the hub may
instead be “straight.” Mazur ¶ [0094]; FWD 54:20-55:17; 59:8-23; 62:3-7. Additionally,
Mazur emphasizes interchangeability of parts. Mazur, Abstract and ¶¶ [0060], [0088]. An
example of a straight hub is shown in Figure 7:




       The resulting embodiment has a first screw passing through the notched open end
of a straight hub, and a second screw passing through another pair of apertures at an angle
substantially perpendicular to the straight hub, as shown for screw 110 in Figure 7.
       Mazur also indicates unambiguously that the straight hub is applicable to the Figs.
16A–E embodiment, because Figs. 16A–E show the same embodiment as Figs. 11 and 12.
Mazur discloses that Figs. 12G–I “show details of a curved hub 400 similar to hub 302
illustrated in FIGS. 11A–D.” Mazur ¶ [0096]. Mazur also discloses that Figs. 12A–20B
(including 16A–E) show “further examples” of the hubs described in Figs. 11A–D. Mazur
¶ [0095]. Consequently, Figs. 16A–E are describing a curved hub as shown in Figs. 11A–
D. FWD 59:24- 60:8. Inspection of drawings from each figure group immediately
demonstrates that they are showing identical or similar hubs:




       Fig. 11A (detail)             Fig. 12A (detail)              Fig. 16A (detail)

       Mazur even indicates when parts are not combinable, e.g.: “either screw 422 or 424
. . . but not both at the same time,” Mazur ¶ [0099], thus underscoring the significance of
occasions when Mazur points out interchangeability. For these reasons, the disclosure in
Mazur paragraph [0094] indicates that the straight hub is applicable to Figs. 16A-16E.

       As shown in the following table, Mazur anticipates claims 1–15 either expressly as
shown and described for Figure 16A or by disclosure elsewhere in the application that is


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applicable to the various hub embodiments. FWD 48:11-14. Dependent claims reciting
similar features are grouped for brevity. Patent Owner did not contest any limitation of the
proposed amendment to claim 1 except for the added limitation specifying geometry of the
first aperture and the “straight line” nature of the third longitudinal axis, and the PTAB
rejected Patent Owner’s argument concerning those limitations. FWD 49–62.

 Claim      Limitation                           Mazur; Mazur provisional (where different)
 1a/12a     1. An assembly for bone              [0011] “bone fixation device”
            fusion, comprising:                  The PTAB adopted this argument (FWD 49:9-11)
 1b/12b     a first member comprising a
            first elongated body
            extending from a first end to
            a second end along a first
            longitudinal axis, wherein the
            first member comprises a
            shaft portion having an
            external surface and a head
            portion having an exterior
            surface, said first member
                                                 Fig. 16A detail (annotated)
            further comprising a first
                                                 The PTAB adopted this argument (FWD 49:9-11)
            thread having a first thread
            height extending radially
            outward from the external
            surface of said shaft portion;




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 1c/12c    a second member comprising
           a second elongated body
           extending from a first end to
           a second end along a second
           longitudinal axis, wherein the
           second member comprises a
           shaft having an external
           surface, said second member
           further comprising a first
           thread having a first thread
                                                 Fig. 7 detail (annotated)
           height extending radially
                                                 The PTAB adopted this argument (FWD 49:9-11)
           outward from the external
           surface of said shaft;
 1d/12d    a third member comprising a                                         Fig. 16A
           third elongated body                                                (annotated)
           extending along a straight                                          [0094] ([0093] in
           line from a first end to a                                          prov.) “Further, a
           second end along a third                                            straight, curved,
           longitudinal axis,                                                  flexible, rigid, or
                                                 no hub at all may be used with the above
                                                 combinations.”
                                                 The PTAB adopted this argument (FWD 54:20-
                                                 55:17; 58:18-62:7)
 1e/12e    wherein the third member
           comprises a first aperture at a
           terminal end of the first end                                            Fig. 16A
           of the third elongated body,                                             annotated)




                                                 The PTAB adopted this argument (FWD 52:16-
                                                 53:12)



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 1f/12f    and a first bore extending
           along a first bore axis from
           the first aperture to a second
           aperture on an exterior
           surface of the third member,


                                                Fig. 16A (annotated)
                                                The PTAB adopted this argument (FWD 49:9-11)
 1g/12g    wherein the first bore
           comprises an interior surface                                         Fig. 13A detail
           at the first aperture,                                                (annotated)




                                                The PTAB adopted this argument (FWD 49:9-11)
 1h/12h    wherein there are no threads
           adjacent to the second                                      Fig. 16B detail (annotated)
           aperture on the exterior
           surface of the third member,
           and
                                                The PTAB adopted this argument (FWD 49:9-11)
 1i/12i    wherein the third longitudinal
           axis and the first bore axis
           define a first angle,




                                                Fig. 16A (annotated)
                                                The PTAB adopted this argument (FWD 49:9-11)




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 1j/12j    wherein the third member
           further comprises a third ap-
           erture on the exterior surface
           of the third member, and a
           second bore extending along
           a second bore axis from the
           third aperture to a fourth
           aperture on an exterior
           surface of the third member,          Fig. 16A (annotated)
           wherein the third longitudinal        The PTAB adopted this argument (FWD 49:9-11)
           axis and the second bore axis
           define a second angle,
 1k/12k    wherein the first member
           couples to the third member
           by inserting the first end of
           the first member into the first
           aperture, through the first
           bore, and out of the second
           aperture,
                                                 Fig. 16A (annotated)
                                                 The PTAB adopted this argument (FWD 49:9-11)
 1l/12l    wherein the second member
           couples to the third member
                                                                                     Fig. 16A
           by inserting the first end of                                             (annotated) –
           the second member into the                                                adapted to
           third aperture, through the                                               include a
           second bore, and out of the                                               second
           fourth aperture,                      member added to the figure as implied by the
                                                 holes in the third member and described for other
                                                 figures, such as Fig. 7.
                                                 The PTAB adopted this argument (FWD 49:9-11)



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 1m (this    wherein the first angle is in
 limi-       the range of about 0 degrees
 tation is   to about 90 degrees,
 omitted
 from
 claim
 12)

                                                    Fig. 16A (annotated)
                                                    The PTAB adopted this argument (FWD 49:9-11;
                                                    54:20-55:17; 58:18-62:7)
 1n/12n      wherein the second angle is
             in the range of about 0
             degrees to about 90 degrees,
             and




                                                    Fig. 16A (annotated)
                                                    The PTAB adopted this argument (FWD 49:9-11;
                                                    54:20-55:17; 58:18-62:7)
 1o/12o      wherein the second bore axis
             is substantially perpendicular                                            Fig. 7
             to the third longitudinal axis.                                           (annotated)




                                                    The PTAB adopted this argument (FWD 49:9-11;
                                                    54:20-55:17; 58:18-62:7)




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           Claim 2, 6, and 13
 2/6/13    The assembly of claim
           1/5/12, wherein the head
           portion of the first member
           resides at least partially
           within the first bore.                  Fig. 16A detail (annotated)
                                                   The PTAB adopted this argument (FWD 49:9-11)
           Claim 3 & 7
 3/7       The assembly of claim 2/6,
           wherein the exterior surface
           of the head portion of the first
           member abuts the interior
           surface of the first bore at the
                                                   Fig. 16A detail (annotated)
           first aperture.
                                                   The PTAB adopted this argument (FWD 49:9-11)
           Claim 4
 4         The assembly of claim 3,
           wherein the head portion of
           the first member comprises a
           torque transmitting aperture.



                                                   Fig. 16A detail (annotated)
                                                   The PTAB adopted this argument (FWD 49:9-11)
           Claim 5
 5         The assembly of claim 1,
           wherein the first aperture of
                                                                                   Fig. 16A detail
           the third member is aligned
                                                                                   (annotated)
           on the first bore axis.



                                                   The PTAB adopted this argument (FWD 49:9-11)



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           Claim 8, 14, & 15
 8/14/15   The assembly of claim
           1/13/12, wherein the head
           portion of the first member is
           tapered.
                                                  Fig. 16A detail         Fig. 12G detail
                                                  (annotated)             (annotated)
                                                 [0079] ([0081] in provisional) “The heads of
                                                 screws 110 may be configured to be self-
                                                 countersinking”
                                                 The PTAB adopted this argument (FWD 49:9-11)
           Claim 9
 9         The assembly of claim 1,
           wherein the first bore axis
           and the second bore axis
           intersect outside the third
           member.




                                                 Fig. 16A (annotated)
                                                 The PTAB adopted this argument (FWD 62:8-
                                                 63:9)
           Claim 10
 10        The assembly of claim 1,
           wherein the first end of the
           first member includes a self-
           tapping edge for removing
           bone material.                        Fig. 16B detail (annotated)
                                                 The PTAB adopted this argument (FWD 49:9-11)




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             Claim 11
 11          The assembly of claim 10,
             wherein the first end of the
             second member includes a
             self-tapping edge for
             removing bone material.             Fig. 16B detail (annotated)
                                                 The second member is another instance of the
                                                 first member and thus would include all of the
                                                 properties of the first member.
                                                 [0097] ([00096] in provisional) “holes 408 and
                                                 414 are aligned to receive a second bone screw”




       Mazur is entitled to its provisional filing date because Mazur’s provisional
application supports at least Mazur published claim 1, as follows:
 Mazur p. 11                                       Mazur provisional
 1. An implantable bone fixation device            [0011] “a bone fixation device”
 comprising:
 an elongate body having a flexible state          [0069] “body portion 114 changes from being
 and a rigid state;                                flexible to rigid”
 a rigid hub connected to a proximal end of        [0012] “a hub located on a proximal end of the
 the elongated body,                               elongated body”
                                                   [0093] “a straight, curved, flexible, rigid, or no
                                                   hub at all may be used”
 the hub having an array of pilot holes over       [0116] “Slots 702 permit in vivo screw hole
 a portion of an outer surface,                    formation by acting as long pilot holes for drill
                                                   bits or bone screws.”


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 each of the pilot holes being configured to     [0116] “A bone screw tip may be inserted into
 expand upon receipt of a fastener               one of the slots 702 without pre-drilling. Upon
 therethrough; and                               insertion, the slot and surrounding slots will
                                                 deform to make way for the screw”
 an actuator operably connected to the           [0069] “continued rotation of actuator 126
 elongate body for changing the body from        draws the proximal end 102 and the distal end
 the flexible state to the rigid state.          104 of device 100 closer together until cuts 116
                                                 are substantially closed. As this happens, body
                                                 portion 114 changes from being flexible to
                                                 rigid”

       Mazur’s provisional application therefore satisfies the requirements to serve as
prior art against the claims of the ’166 patent because it (a) discloses all the limitations
relied upon as prior art for showing anticipation of each ’166 patent claim, and (b) supports
at least one claim of Mazur’s nonprovisional application. See Dynamic Drinkware, LLC v.
Nat’l Graphics, Inc., 800 F.3d 1375, 1380–81 (Fed. Cir. 2015).

       B.       Mazur renders obvious claims 1–15

       The PTAB also found that Mazur renders obvious proposed claims 16–25 and 27–
30. FWD 57–63. This finding is binding on Patent Owner and estops it from arguing for
patentability of claims 1–15 for the reasons given above, namely, that the patented claims
are all generic to their proposed counterparts and therefore lack patentable distinctiveness
over them.

       Claims 1–15 are unpatentable for obviousness over Mazur because Mazur expressly
suggests interchangeability of its parts, which would have led a person having ordinary
skill in the art (“POSA”) to the subject matter encompassed by the claims. The portions of
Mazur disclosing that features of one embodiment apply to others, in particular the
statement in Mazur paragraph [0094] (prov. [0093]) that “a straight, curved, flexible, rigid,
or no hub at all may be used with the above combinations,” also suggest to the POSA to
modify the embodiment shown in Figure 16A to have a straight hub. Mazur’s extensive
description of straight-hubbed embodiments show how to implement such an embodiment
with a reasonable expectation of success. Mazur discloses all the remaining embodiments



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of the proposed claims in the manner discussed above. For these reasons, a POSA would
have found it obvious from Mazur to reach the subject matter of every proposed claim.
       Claim 11 further limits claim 10 requiring that the second member include a self-
tapping edge for removing bone material. Claim 10 requires exactly the same structure on
the first member. Thus, the only difference between claim 11 and claim 10 is the
duplication of the self-tapping edge. In other words, claim 10 requires that the first
member have a self-tapping edge, and claim 11 requires that both the first and second
members have self-tapping edges. Patent Owner admitted that the first and second
members (screws 1805 and 1810) are duplicates of one another (’166 patent, 13:26–31).
       But it has long been recognized that the mere duplication of structure does not
confer patentability on otherwise unpatentable subject matter, absent a showing of an
unexpected result produced by the duplication. In re Harza, 274 F.2d 669, 671 (CCPA
1960) (“It is well settled that the mere duplication of parts has no patentable significance
unless a new and unexpected result is produced”); M.P.E.P. § 2144.04(VI)(B).
       Claim 11 therefore is not patentably distinct from claim 10, because Patent Owner
merely duplicated structure from claim 10 without showing that the duplicate results in
some unexpected benefit. Claim 11 is consequently obvious over Mazur for the same
reasons as claim 10. Furthermore, Patent Owner is estopped from defending or
maintaining claim 11 because it is patentably indistinct from a claim the PTAB finally
determined to be unpatentable, namely, claim 10. 37 C.F.R. § 42.73(d)(3)(i).
V.     Conclusion
       Requester therefore asks that the Office reexamine Claims 1–15 of the ’166 patent.
                                                Respectfully submitted,


       Dated: December 13, 2024                 /Jennifer R. Brinkerhoff, Reg. No. 78,696/
                                                Jennifer R. Brinkerhoff

Certificate of Service: I certify that this Request for Ex Parte Reexamination and all other
documents accompanying this Request were served by First Class Mail to the
correspondence address of record: “27776 - Kelley Drye & Warren LLP, One Jefferson
Road, Parsippany, NJ 07053” on December 13, 2024.
                                                 /Jennifer R. Brinkerhoff, Reg. No. 78,696/
                                                 Jennifer R. Brinkerhoff



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